                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                                  3:11cr190


UNITED STATES OF AMERICA,           )
                                    )
Vs.                                 )                      ORDER
                                    )
(2) KIMBERLY BRIDGES MORRIS,        )
                                    )
            Defendant.              )
____________________________________)

       THIS MATTER is before the court on the government’s Motion for Order Regarding

Forfeiture (Nunc Pro Tunc) (# 131) and Second Motion for Preliminary Order of Forfeiture

(Money Judgment) (# 128). This issue was briefly discussed at the January 24, 2013 sentencing

hearing, and the parties indicated that they had agreed on a forfeiture money judgment in the

amount of $500,000 as opposed to the $7,000,000 listed in the preliminary order.            The

government also requested, to which defendant did not object, that the court dismiss one vehicle

from the preliminary order filed on August 30, 2012.        Finally, the government wishes to

withdrawal motion # 128. As the court sees no reason to not grant these modifications, the

government’s requests will be allowed.

                                           ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Order Regarding

Forfeiture (Nunc Pro Tunc) (#131) is GRANTED. As part of the sentence imposed in this

matter, defendant shall pay a forfeiture money judgment for criminal proceeds in the amount of

$500,000, and shall be jointly and severally liable with any other defendants who are also

ordered to pay a money judgment in this case (3:112cr190). Furthermore, as requested, the

Preliminary Order of Forfeiture is dismissed as to the 2004 Hummer.



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        IT IS, FURTHER, ORDERED that the government’s Second Motion for Preliminary

Order of Forfeiture (Money Judgment) (# 128) is TERMINATED.

 Signed: January 31, 2013




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